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                      6 Attorneys for Defendant FORD MOTOR
                        COMPANY
                      7
                      8                               UNITED STATES DISTRICT COURT
                      9                 CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
                    10
                    11 HENRY GONZALEZ, an individual,                         CASE NO.
                    12         Plaintiff,                                     DECLARATION OF KARYN L.
                                                                              IHARA IN SUPPORT OF FORD
                    13              vs.                                       MOTOR COMPANY’S NOTICE OF
                                                                              REMOVAL
                    14 FORD MOTOR COMPANY, A
                       Delaware Corporation; and DOES 1                       [Notice of Removal filed concurrently]
                    15 through 20, inclusive,
                    16                       Defendants.
                    17
                    18
                                                    DECLARATION OF KARYN L. IHARA
                    19
                                   I, Karyn L. Ihara, declare as follows:
                    20
                                   1.        I am an attorney duly licensed to practice law before the United States
                    21
                          District Court for the Central District of California, and am an attorney for Lewis
                    22
                          Brisbois Bisgaard & Smith, LLP, attorneys for Defendant Ford Motor Company
                    23
                          (“Ford”). I am a member in good standing with the State Bar of California. I have
                    24
                          personal knowledge of the following facts, except for those based on information
                    25
                          and belief, which I believe to be true, and if called upon to testify, I could and would
                    26
                          competently testify to their truth and accuracy.
                    27
                                   2.        This declaration is submitted in support of Defendant Ford Motor
LEWIS               28
BRISBOIS
BISGAARD
                          4875-2389-6355.1                                1
& SMITH LLP                     DECLARATION OF KARYN L. IHARA IN SUPPORT OF FORD MOTOR COMPANY’S NOTICE OF
ATTORNEYS AT LAW                                                  REMOVAL
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                      1 Company’s Notice of Removal to the United States District Court for the Central
                      2 District of California Under 28 U.S.C. sections 1332, 1441 and 1446.
                      3        3.     In executing this declaration, I do not intend, and Ford has not
                      4 authorized me, to waive any protections or privileges Ford may have as to
                      5 proprietary, trade secret, and/or confidential information, or to waive Ford’s
                      6 attorney-client privilege as to any of its communications or to waive the work
                      7 product immunity developed in anticipation of or in response to litigation. I intend
                      8 only to describe certain factual matters that are pertinent to this declaration.
                      9        4.     Ford was served with a copy of Plaintiff’s Summons and Complaint on
                     10 May 3, 2022, through its designated agent for service of process, CT Corporation
                     11 System. True and accurate copies of all process, pleadings and orders for the State
                     12 Action in Ford’s possession are attached hereto as Exhibit A
                     13        5.     Attached as Exhibit B is a true and correct copy of an excerpt from
                     14 Ford’s 10-K filing for the fiscal year ending December 31, 2019, which is posted on
                     15 Ford’s website at https://s23.q4cdn.com/799033206/files/doc_financials/annual/10k-
                     16 2019-q4.pdf.
                     17        6.     This “Lemon Law” action arises out of Plaintiff’s purchase of a new
                     18 2019 Ford Expedition, vehicle identification number 1FMJU1MT8KEA42260
                     19 (“Subject Vehicle”) on May 23, 2019.
                     20        7.     According to the Retail Installment Sale Contract for the Subject
                     21 Vehicle, Plaintiff purchased the Subject Vehicle from Sunrise Ford, which is located
                     22 in Fontana, California. Attached as Exhibit C is a true and correct copy of the
                     23 Retail Installment Sale Contract for the Subject Vehicle.
                     24        8.     Based on the Subject Vehicle’s AWS claims list report and a recent
                     25 CarFax report, the repairs and maintenance for the Subject Vehicle only occurred in
                     26 California. Attached as Exhibit D is a true and correct copy of the Subject
                     27 Vehicle’s AWS claim list report. Attached as Exhibit E is a true and correct copy

LEWIS                28 of the Subject Vehicle’s CarFax report dated May 31, 2022.
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& SMITH LLP                  DECLARATION OF KARYN L. IHARA IN SUPPORT OF FORD MOTOR COMPANY’S NOTICE OF
ATTORNEYS AT LAW                                               REMOVAL
                   Case 5:22-cv-00922-MEMF-SP Document 1-1 Filed 06/02/22 Page 3 of 3 Page ID #:11




                      1            I declare under penalty of perjury under the laws of the United States of
                      2 America that the foregoing is true and correct and that this declaration was executed
                      3 on this 2nd day of June 2022, at Los Angeles, California.
                      4
                      5                                                /s/ Karyn L. Ihara
                                                                       Karyn L. Ihara
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& SMITH LLP                     DECLARATION OF KARYN L. IHARA IN SUPPORT OF FORD MOTOR COMPANY’S NOTICE OF
ATTORNEYS AT LAW                                                  REMOVAL
